            Case 8:21-cr-00124-JLS                  Document 100            Filed 08/23/24          Page 1 of 6 Page ID #:603
                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             SA21CR00124-JLS-1

 Defendant            Christopher John Badsey                                Social Security No. 4          3     0     1

 akas:    None                                                               (Last 4 digits)

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                      MONTH    DAY    YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.         08       23     2024


 COUNSEL                                                              Patrick W. McLaughlin, CJA
                                                                             (Name of Counsel)

    PLEA              √ GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                 NOT
                                                                                                                CONTENDERE             GUILTY
                      There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
  FINDING
                      18 U.S.C. § 1343 and 18 U.S.C. § 2(a): Wire Fraud as charged in Count 1-4 of the Indictment.


JUDGMENT              The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/             contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM                that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to
  ORDER               the custody of the Bureau of Prisons to be imprisoned for a term of 87 (EIGHTY SEVEN) MONTHS on each of Counts 1-4
                      to be served concurrently.




        It is ordered that the defendant shall pay to the United States a special assessment of $400, which is due
immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25 per
quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

         It is ordered that the defendant shall pay restitution in the total amount of $1,938,990 pursuant to 18 U.S.C. §
3663A.

The amount of restitution ordered shall be paid as follows:

                                        Victim Amount
                                        Terry Booth $668,990
                                        Christiaan van der Velde $270,000
                                        John Anthony Bijan Faranghui $1,000,000

        Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and
pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program. If any amount of the restitution remains
unpaid after release from custody, nominal monthly payments of at least $100 shall be made during the period of
supervised release. These payments shall begin 90 days after the commencement of supervision. Nominal restitution
payments are ordered as the Court finds that the defendant's economic circumstances do not allow for either immediate
or future payment of the amount ordered.

CR-104 (docx 12/20)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                                  Page 1 of 6
              Case 8:21-cr-00124-JLS            Document 100        Filed 08/23/24      Page 2 of 6 Page ID #:604

 USA vs.      Christopher John Basdey                                    Docket No.:   SA21CR00124-JLS-1



       The amount of restitution ordered shall be paid as set forth on the list attached to this judgment. If the defendant
makes a partial payment, each payee shall receive approximately proportional payment unless another priority order or
percentage payment is specified.

         The defendant shall comply with Second Amended General Order No. 20-04.

        Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that
he is unable to pay and is not likely to become able to pay any fine.

        Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 3 (THREE)
years. This term consists of 3 (THREE) years on each of Counts 1-4 of the Indictment, all such terms to run
concurrently under the following terms and conditions:

         1.           The defendant shall comply with the rules and regulations of the United States Probation & Pretrial
                      Services Office and Second Amended General Order 20-04, including the conditions of probation and
                      supervised release set forth in Section III of Second Amended General Order 20-04.

         2.           The defendant shall not commit any violation of local, state, or federal law or ordinance.

         3.           During the period of community supervision, the defendant shall pay the special assessment and
                      restitution in accordance with this judgment's orders pertaining to such payment.

         4.           The defendant shall comply with the immigration rules and regulations of the United States, and if
                      deported from this country, either voluntarily or involuntarily, not reenter the United States illegally.
                      The defendant is not required to report to the Probation & Pretrial Services Office while residing outside
                      of the United States; however, within 72 hours of release from any custody or any reentry to the United
                      States during the period of Court-ordered supervision, the defendant shall report for instructions to the
                      United States Probation Office located at: the 300 N. Los Angeles Street, Suite 1300, Los Angeles, CA
                      90012-3323.

         5.           The defendant shall not engage, as whole or partial owner, employee or otherwise, in any business
                      involving loan programs, telemarketing activities, investment programs or any other business involving
                      the solicitation of funds or cold-calls to customers without the express approval of the Probation Officer
                      prior to engaging in such employment. Further, the defendant shall provide the Probation Officer with
                      access to any and all business records, client lists, and other records pertaining to the operation of any
                      business owned, in whole or in part, by the defendant, as directed by the Probation Officer.

         6.           The defendant shall not obtain or possess any driver's license, Social Security number, birth certificate,
                      passport or any other form of identification in any name, other than the defendant's true legal name, nor
                      shall the defendant use, any name other than the defendant's true legal name without the prior written
                      approval of the Probation Officer.

         7.           The defendant shall cooperate in the collection of a DNA sample from the defendant.

         8.           The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance,
                      judgments and any other financial gains to the Court-ordered financial obligation.



CR-104 (docx 12/20)                            JUDGMENT & PROBATION/COMMITMENT ORDER                                     Page 2 of 6
              Case 8:21-cr-00124-JLS           Document 100            Filed 08/23/24           Page 3 of 6 Page ID #:605

 USA vs.       Christopher John Basdey                                       Docket No.:       SA21CR00124-JLS-1

         9.           The defendant shall submit the defendant's person, property, house, residence, vehicle, papers,
                      computers, cell phones, other electronic communications or data storage devices or media, email
                      accounts, social media accounts, cloud storage accounts, or other areas under the defendant’s control, to
                      a search conducted by a United States Probation Officer or law enforcement officer. Failure to submit to
                      a search may be grounds for revocation. The defendant shall warn any other occupants that the premises
                      may be subject to searches pursuant to this condition. Any search pursuant to this condition will be
                      conducted at a reasonable time and in a reasonable manner upon reasonable suspicion that the defendant
                      has violated a condition of his supervision and that the areas to be searched contain evidence of this
                      violation.

       The drug testing condition mandated by statute is suspended based on the Court's determination that the
defendant poses a low risk of future substance abuse.

         The Court advised the defendant of his right to appeal.

         The Government’s motion to dismiss the remaining counts is granted.

       The Court recommends the defendant be housed at Terminal Island Federal Correctional Institute or any FCI in
the Southern California area.




 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




              August 23, 2024
              Date                                                U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                  Clerk, U.S. District Court




              08/23/2024                                    By    /s/ Charles A. Rojas
              Filed Date                                          Deputy Clerk




CR-104 (docx 12/20)                           JUDGMENT & PROBATION/COMMITMENT ORDER                                                   Page 3 of 6
            Case 8:21-cr-00124-JLS                    Document 100              Filed 08/23/24           Page 4 of 6 Page ID #:606

 USA vs.      Christopher John Basdey                                                  Docket No.:     SA21CR00124-JLS-1


 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local crime;      9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                  engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a                 any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                        by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                      family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the            review and has determined that the restriction is necessary for
       court or probation officer;                                                       protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without       10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;                 not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation               other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment                 substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;               11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation                 being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before      12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change              ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                   13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her             enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                  permission of the court;
       any contraband prohibited by law or the terms of supervision and           14.    The defendant must follow the instructions of the probation officer
       observed in plain view by the probation officer;                                  to implement the orders of the court, afford adequate deterrence from
 8.    The defendant must work at a lawful occupation unless excused by                  criminal conduct, protect the public from further crimes of the
       the probation officer for schooling, training, or other acceptable                defendant; and provide the defendant with needed educational or
       reasons and must notify the probation officer at least ten days before            vocational training, medical care, or other correctional treatment in
       any change in employment or within 72 hours of an unanticipated                   the most effective manner.
       change;




CR-104 (docx 12/20)                                  JUDGMENT & PROBATION/COMMITMENT ORDER                                                           Page 4 of 6
            Case 8:21-cr-00124-JLS                 Document 100            Filed 08/23/24          Page 5 of 6 Page ID #:607

 USA vs.      Christopher John Basdey                                            Docket No.:     SA21CR00124-JLS-1



      The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money
 order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments
 must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.


CR-104 (docx 12/20)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 5 of 6
            Case 8:21-cr-00124-JLS                Document 100            Filed 08/23/24             Page 6 of 6 Page ID #:608

 USA vs.      Christopher John Basdey                                           Docket No.:       SA21CR00124-JLS-1




                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal

                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




CR-104 (docx 12/20)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 6 of 6
